Case 1:20-cv-00121-DBH Document 37 Filed 03/16/21 Page 1 of 2                     PageID #: 102




                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                              )
 LEVI DWIGHT STOKES,                          )    Docket No. 1:20-cv-00121-DBH
                Plaintiff                     )
                                              )
 v.                                           )
                                              )
 PENOBSCOT COUNTY JAIL and SGT.               )
 MORIN,                                       )
                     Defendants               )
                                              )

                             STIPULATION OF DISMISSAL

       NOW COME the parties and hereby stipulate that the above-captioned matter may be
dismissed, with prejudice, and without costs, interest, or attorneys fees to any party.



Dated: February 12, 2021                           /s/ Levi Stokes
                                                  Levi Stokes, Pro Se Plaintiff


Dated: March 16, 2021                               /s/ Peter T. Marchesi
                                                  Peter T. Marchesi, Esq.
                                                  Wheeler & Arey, P.A.
                                                  Attorneys for Defendants
                                                  27 Temple Street
                                                  Waterville, ME 04901
Case 1:20-cv-00121-DBH Document 37 Filed 03/16/21 Page 2 of 2                      PageID #: 103




                           UNITED STATES DISTRICT COURT
                                   District of Maine


                                                  )
 LEVI DWIGHT STOKES,                              )    Docket No. 1:20-cv-00121-DBH
                Plaintiff                         )
                                                  )
 v.                                               )
                                                  )
 PENOBSCOT COUNTY JAIL and SGT.                   )
 MORIN,                                           )
                     Defendants                   )
                                                  )


       I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

              Stipulation of Dismissal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

               None

       Copies of the above documents have been provided to the Plaintiff via United States
Mail, postage prepaid, at the following address:

               Levi D. Stokes
               17 Mallison Falls Road
               Windham, ME 04062


Dated: March 16, 2021                                   /s/ Peter T. Marchesi
                                                      Peter T. Marchesi, Esq.
                                                      Wheeler & Arey, P.A.
                                                      Attorneys for Defendants
                                                      27 Temple Street
                                                      Waterville, ME 04901
